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                   UNITED STATES COURT OF APPEALS
                          FOR THE NINTH CIRCUIT
             Form 1. Notice of Appeal from a Judgment or Order of a
                           United States District Court
Name of U.S. District Court:                 District of Idaho

U.S. District Court case number: 4:20-cv-86-BLW

Date case was first filed in U.S. District Court: 19 February 2020

Date of judgment or order you are appealing:                       14 October 2020
Fee paid for appeal? (appeal fees are paid at the U.S. District Court)
   Yes         No           IFP was granted by U.S. District Court

List all Appellants (List each party filing the appeal. Do not use “et al.” or other abbreviations.)
  Dustin Jade Wells




Is this a cross-appeal?          Yes           No
If Yes, what is the first appeal case number?

Was there a previous appeal in this case?                      Yes           No
If Yes, what is the prior appeal case number?

Your mailing address:
PO Box 483



City: Paul                                    State: ID               Zip Code: 83347

Prisoner Inmate or A Number (if applicable):

Signature       Paul Ross                                               Date 10 November 2020
     Complete and file with the attached representation statement in the U.S. District Court
                    Feedback or questions about this form? Email us at forms@ca9.uscourts.gov

Form 1                                                                                          Rev. 12/01/2018
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                     UNITED STATES COURT OF APPEALS
                          FOR THE NINTH CIRCUIT
                        Form 6. Representation Statement
     Instructions for this form: http://www.ca9.uscourts.gov/forms/form06instructions.pdf
Appellant(s) (List each party filing the appeal, do not use “et al.” or other abbreviations.)
Name(s) of party/parties:
Dustin Jade Wells


Name(s) of counsel (if any):
Paul Ross



Address: PO Box 483, Paul, ID 83347
Telephone number(s): (208) 219-7997
Email(s): paul@idbankruptcylaw.com
Is counsel registered for Electronic Filing in the 9th Circuit?                            Yes        No

Appellee(s) (List only the names of parties and counsel who will oppose you on appeal. List
separately represented parties separately.)
Name(s) of party/parties:
Kathleen A McCallister


Name(s) of counsel (if any):
Robin M Long



Address: 1910 University Dr, Biology Dept, Boise, ID 83725
Telephone number(s): (208) 830-7315
Email(s): motoce@gmail.com


To list additional parties and/or counsel, use next page.
                   Feedback or questions about this form? Email us at forms@ca9.uscourts.gov

Form 6                                                1                                        New 12/01/2018
